                             THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     ASHEVILLE DIVISION
                            CRIMINAL CASE NO. 2:13-cr-00009-MR-DLH


              UNITED STATES OF AMERICA,        )
                                               )
                   vs.                         )                     ORDER
                                               )
              GERARDO RODRIGUEZ-ARAGON.        )
              ________________________________ )

                      THIS MATTER is before the Court pursuant to 18 United States Code

              § 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

                      The Probation Office has submitted a supplement to the Defendant’s

              Presentence Report (“PSR”) in this matter. [Doc. 446]. Based thereon, the

              Court determines that the United States Attorney and the Federal Defenders

              of WNC, Inc., should provide the Court with their respective positions

              regarding the PSR supplement.

                      IT IS, THEREFORE, ORDERED that no later than thirty (30) days from

              the entry of this Order, the United States Attorney and the Federal Defenders

              of WNC, Inc., shall file pleadings responsive to the Probation Officer’s PSR

              supplement filed in this matter.

                      IT IS SO ORDERED.
Signed: May 5, 2015




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